        Case 2:18-cv-01698-AKK Document 59 Filed 11/05/18 Page 1 of 2                 FILED
                                                                             2018 Nov-05 PM 04:25
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


EDUCATION CORPORATION OF                )
AMERICA, et al.,                        )
                                        )
      Plaintiffs,                       )   Civil Action Number
                                        )    2:18-cv-01698-AKK
vs.                                     )
                                        )
UNITED STATES DEPARTMENT
OF EDUCATION, et al.,                   )
                                        )
      Defendants.                       )

                                   ORDER

      Education Corporation of America, Virginia College, LLC, and New

England College of Business and Finance, LLC’s (collectively, “ECA’s”) Motion

to Seal Exhibit 9 to Plaintiffs’ Opposition to Amicus Curiae Brief, doc. 49, is

GRANTED, and the Clerk is DIRECTED to file Exhibit 9, doc. 51-9, under seal.

In addition, ECA’s Motions for Leave to File Excess Pages in Opposition to the

Amicus Curiae Brief, doc. 50, and for Leave to File Reply to the Defendants’

Supplemental Memorandum, doc. 52, are GRANTED.

      Finally, in accordance with its memorandum opinion, doc. 58, this action is

DISMISSED WITHOUT PREJUDICE for lack of subject matter jurisdiction.

The Clerk is DIRECTED to close this file.
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DONE the 5th day of November, 2018.


                            _________________________________
                                     ABDUL K. KALLON
                              UNITED STATES DISTRICT JUDGE




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